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                                                                                  2022 Apr-22 AM 08:56
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION

MaxRelief USA, Inc.                      )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )
                                         )     CASE NO. 5:22-cv-00270
Fulfyld, LLC                             )
                                         )
      Defendant.                         )

                                        ANSWER

      COMES NOW, Defendant Fulfyld, LLC, (referred to herein as the

“Defendant”), and responds to Plaintiff MaxRelief USA, Inc.’s (hereinafter referred

to as the “Plaintiff”) Complaint as follows:

                                  I. INTRODUCTION

      To the extent that the Plaintiff’s Introduction alleges facts in support of its

Complaint, Defendant denies those allegations and demands strict proof thereof.

                                  II.    PARTIES

      1.     Defendant is without sufficient information to admit or deny the

allegations in paragraph 1 of the Complaint. As such, Defendant denies those

allegations and demand strict proof thereof.

      2.     Defendant admits the allegations in paragraph 2 of the Complaint.

                         III.   JURISDICTION AND VENUE

      3.     Defendant admits that jurisdiction is proper in this Court.
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      4.    Defendant admits the allegations in paragraph 4 of the Complaint.

      5.    Defendant admits that venue is proper in this Court.

                         IV.    FACTUAL BACKGROUND

      6.    Defendant is without sufficient information to admit or deny the

allegations in paragraph 6 of the Complaint. As such, Defendant denies those

allegations and demands strict proof thereof.

      7.    Defendant admits that it is a third-party warehouser and shipping

provider. Defendant denies the remaining allegations in paragraph 7 of the

Complaint and demands strict proof thereof.

      8.    Defendant denies the allegations in paragraph 8 of the Complaint and

demands strict proof thereof.

      9.    Defendant denies the allegations in paragraph 9 of the Complaint and

demands strict proof thereof.

      10.   Defendant denies the allegations in paragraph 10 of the Complaint and

demands strict proof thereof.

      11.   Defendant denies the allegations in paragraph 11 of the Complaint and

demands strict proof thereof.

      12.   Defendant denies the allegations in paragraph 12 of the Complaint and

demands strict proof thereof.

      13.   Defendant admits the allegations in paragraph 13 of the Complaint.
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      14.   Defendant denies the allegations in paragraph 14 of the Complaint and

demands strict proof thereof.

      15.   Defendant denies the allegations in paragraph 15 of the Complaint and

demands strict proof thereof.

      16.   Defendant denies the allegations in paragraph 16 of the Complaint and

demands strict proof thereof.

      17.   Defendant denies the allegations in paragraph 17 of the Complaint and

demands strict proof thereof.

      18.   Defendant denies the allegations in paragraph 18 of the Complaint and

demands strict proof thereof.

      19.   Defendant denies the allegations in paragraph 19 of the Complaint and

demands strict proof thereof.

      20.   Defendant denies the allegations in paragraph 20 of the Complaint and

demands strict proof thereof.

      21.   Defendant denies the allegations in paragraph 21 of the Complaint and

demands strict proof thereof.

      22.   Defendant denies the allegations in paragraph 22 of the Complaint and

demands strict proof thereof.

      23.   Defendant denies the allegations in paragraph 23 of the Complaint and

demands strict proof thereof.


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      24.   Defendant denies the allegations in paragraph 24 of the Complaint and

demands strict proof thereof.

      25.   Defendant denies the allegations in paragraph 25 of the Complaint and

demands strict proof thereof.

      26.   Defendant denies the allegations in paragraph 26 of the Complaint and

demands strict proof thereof.

      27.   Defendant is without sufficient information to admit or deny the

allegations in paragraph 27 of the Complaint. As such, Defendant denies those

allegations and demands strict proof thereof.

      28.   Defendant is without sufficient information to admit or deny the

allegations in paragraph 28 of the Complaint. As such, Defendant denies those

allegations and demands strict proof thereof.

      29.   Defendant denies the allegations in paragraph 29 of the Complaint and

demands strict proof thereof.

      30.   Defendant denies the allegations in paragraph 30 of the Complaint and

demands strict proof thereof.


                                V.     CAUSES OF ACTION
                                          COUNT I
                                     (Breach of Contract)

      31.   Defendant adopts and reasserts its responses as provided in paragraphs

1-30 of this Complaint.
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      32.   Defendant denies the allegations in paragraph 32 of the Complaint and

demands strict proof thereof.

      33.   Defendant denies the allegations in paragraph 33 of the Complaint and

demands strict proof thereof.

      34.   Defendant denies the allegations in paragraph 34 of the Complaint and

demands strict proof thereof.

      35.   Defendant denies the allegations in paragraph 35 of the Complaint and

demands strict proof thereof.

      36.   Defendant denies the allegations in paragraph 36 of the Complaint and

demands strict proof thereof.

      37.   Defendant denies the allegations in paragraph 37 of the Complaint and

demands strict proof thereof.

      38.   Defendant denies the allegations in paragraph 38 of the Complaint and

demands strict proof thereof.

      39.   Defendant denies the allegations in paragraph 39 of the Complaint and

demands strict proof thereof.

                                     COUNT II
                          (Accounting Under Alabama Law)

      40.   Defendant adopts and reasserts its responses as provided in paragraphs

1-39 of this Complaint.



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      41.   Defendant denies the allegations in paragraph 41 of the Complaint and

demands strict proof thereof.

      42.   Defendant denies the allegations in paragraph 42 of the Complaint and

demands strict proof thereof.

      43.   Defendant denies the allegations in paragraph 43 of the Complaint and

demands strict proof thereof.

      44.   Defendant denies the allegations in paragraph 44 of the Complaint and

demands strict proof thereof.

      45.   Defendant denies the allegations in paragraph 45 of the Complaint and

demands strict proof thereof.

      46.   Defendant denies the allegations in paragraph 46 of the Complaint and

demands strict proof thereof.

      47.   Defendant denies the allegations in paragraph 47 of the Complaint and

demands strict proof thereof.


                                   COUNT III
                (Breach of Covenant of Good Faith and Fair Dealing)

      48.   Defendant adopts and reasserts its responses as provided in paragraphs

1-47 of this Complaint.

      49.   Defendant denies the allegations in paragraph 49 of the Complaint and

demands strict proof thereof.


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      50.   Defendant denies the allegations in paragraph 50 of the Complaint and

demands strict proof thereof.

      51.   Defendant denies the allegations in paragraph 51 of the Complaint and

demands strict proof thereof.

      52.   Defendant denies the allegations in paragraph 52 of the Complaint and

demands strict proof thereof.

      53.   Defendant denies the allegations in paragraph 53 of the Complaint and

demands strict proof thereof.

      54.   Defendant denies the allegations in paragraph 54 of the Complaint and

demands strict proof thereof.

      55.   Defendant denies the allegations in paragraph 55 of the Complaint and

demands strict proof thereof.

      56.   Defendant denies the allegations in paragraph 56 of the Complaint and

demands strict proof thereof.

      57.   Defendant denies the allegations in paragraph 57 of the Complaint and

demands strict proof thereof.

      58.   Defendant denies the allegations in paragraph 58 of the Complaint and

demands strict proof thereof.




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                                   COUNT IV
                                   (Negligence)

      59.   Defendant adopts and reasserts its responses as provided in paragraphs

1-58 of this Complaint.

      60.   Defendant denies the allegations in paragraph 60 of the Complaint and

demands strict proof thereof.

      61.   Defendant denies the allegations in paragraph 61 of the Complaint and

demands strict proof thereof.

      62.   Defendant denies the allegations in paragraph 62 of the Complaint and

demands strict proof thereof.

                                    COUNT V
                                (Unjust Enrichment)

      63.   Defendant adopts and reasserts its responses as provided in paragraphs

1-62 of this Complaint.

      64.   Defendant denies the allegations in paragraph 64 of the Complaint and

demands strict proof thereof.

      65.   Defendant denies the allegations in paragraph 65 of the Complaint and

demands strict proof thereof.

      66.   Defendant denies the allegations in paragraph 66 of the Complaint and

demands strict proof thereof.




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                                 COUNT VI
                  (Conversion, Misappropriation, Civil Theft)

      67.    Defendant denies the allegations in paragraph 67 of the Complaint and

demands strict proof thereof.

      68.    Defendant denies the allegations in paragraph 68 of the Complaint and

demands strict proof thereof.

                                  COUNT VII
                            (Declaratory Judgement)

      69.    Defendant adopts and reasserts its responses as provided in paragraphs

1-68 of this Complaint.

      70.    Defendant denies the allegations in paragraph 70 of the Complaint and

demands strict proof thereof.

      71.    Defendant denies the allegations in paragraph 71 of the Complaint and

demands strict proof thereof.

      72.    Defendant denies the allegations in paragraph 72 of the Complaint and

demands strict proof thereof.


                             PRAYER FOR RELIEF

      Defendant denies that Plaintiff is entitled to any of the relief requested in

Paragraphs 1-7 of its Prayer for Relief and demands strict proof thereof.




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                          AFFIRMATIVE DEFENSES

      1.     The Plaintiff has failed to state a claim upon which relief can be granted

pursuant to Rule 12(b), Federal Rules of Civil Procedure.

      2.     Defendant pleads accord and satisfaction.

      3.     Defendant pleads lack of notice.

      4.     Defendant pleads lack of duty.

      4.     Defendant pleads lack of intent.

      5.     Defendant pleads failure of consideration.

      6.     Defendant pleads waiver, estoppel, and laches.

      7.     Defendant pleads unclean hands.

      11.    Defendant pleads setoff.

      12.    Defendant pleads failure to mitigate.

      13.    Since discovery is ongoing in this case, Defendant reserves the right to

add additional affirmative defenses as applicable facts are discovered.


                                           /s/ Charles A, Ray, IV
                                           CHARLES A, RAY, IV (ASB-9371A51C)
                                           ATTORNEY FOR DEFENDANT
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                         CERTIFICATE OF SERVICE

      I do hereby certify that on April 22, 2022, a copy of the foregoing document
was served on the following via Electronic Case Filing a copy of same.

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                                            /s/ Charles A. Ray, IV
                                            OF COUNSEL




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